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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Matthew                 Deion                 Bateman                    According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                under 11 U.S.C. § 1325(b)(3).

 Case number        17-32081                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $1,235.63
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                     $953.50
     deductions)
     Ordinary and necessary operating      –        $270.50   –
     expenses                                                                   Copy
     Net monthly income from a business,            $683.00                     here           $683.00
     profession, or farm




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Debtor 1          Matthew Deion Bateman                                                                                                Case number (if known) 17-32081

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                                        here                     $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00
8.    Unemployment compensation                                                                                                                    $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                 $1,918.63      +               =       $1,918.63
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $1,918.63
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –       $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $1,918.63


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Debtor 1      Matthew Deion Bateman                                                                                                Case number (if known) 17-32081

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                              $1,918.63
                                              ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                 X         12

    15b.                                                                                                                                                          $23,023.56
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                          Texas

    16b.    Fill in the number of people in your household.                                                    2

    16c.                                                                                                                                                             $61,704.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                   $1,918.63
                                                                                              ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                                $1,918.63

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                             $1,918.63
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                          X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                             $23,023.56

    20c.                                                                                                                                                 $61,704.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.




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Debtor 1    Matthew Deion Bateman                                                        Case number (if known) 17-32081

 Part 4:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Matthew Deion Bateman                                            X
        Matthew Deion Bateman, Debtor 1                                          Signature of Debtor 2

        Date 6/13/2017                                                           Date
             MM / DD / YYYY                                                             MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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